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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Norfolk Division

    COURTHOUSE NEWS SERVICE,                             )
                                                         )
                Plaintiff,                               )
                                                         )
      v.                                                 )        Case No. 2:18-cv-391-HCM
                                                         )
     GEORGE E. SCHAEFER, in his official                 )
     capacity as Clerk of the Circuit Court for          )
     Norfolk, Virginia, et al.,                          )
                                                         )
                Defendants.                              )

           DECLARATION OF WILLIAM J. HIBSHER IN SUPPORT OF
      COURTHOUSE NEWS SERVICE’S APPLICATION FOR ATTORNEYS’ FEES

           I, William J. Hibsher, declare and state as follows:

           1.        I am an attorney duly licensed to practice law in the State of New York and am a

  Senior Counsel with the law firm of Bryan Cave Leighton Paisner LLP (“BCLP”), attorneys for

  Plaintiff Courthouse News Service (“CNS”) in the above-captioned action before this Court

  (“Schaefer Matter”). As the lead lawyer for CNS in this action, I oversaw all aspects of this case

  during its pendency.

           2.        I make this declaration of my own personal knowledge, including my knowledge

  of BCLP’s files relating to this action, in support of CNS’ application for an award of attorneys’

  fees pursuant to 42 U.S.C. § 1988, and could testify to the facts set forth herein if called as a

  witness.

           3.        Rather than acknowledge the existence of delays during the period at issue in the

  complaint, which were established at trial, Defendants (as herein defined) and their attorneys

  steadfastly denied any delays and elected to aggressively defend this case. In fact, at trial,

  Defendants’ counsel noted that he was wearing a “badge of honor” for “aggressively litigat[ing]



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  this case.” Transcript of Proceedings, February 5, 2020 (“Trial Tr. Vol. 4”), ECF No. 93, at

  559:12-15.

         4.      Defendants filed not one, but two motions to dismiss (five months apart), both of

  which were denied, and litigated this case through full discovery, including numerous

  depositions, written discovery and document productions, cross-motions for summary judgment,

  and trial – all based on Defendants’ unsupported assertion that there were no delays in access to

  newly-filed civil complaints in their courts.      Despite Defendants’ repeated claims that

  “compelling evidence” existed to refute CNS’ delay allegations, Defendants failed to produce

  any such “compelling evidence.” CNS needed to subpoena and depose a third-party, the Office

  of Executive Secretary of the Supreme Court of Virginia (“OES”), who ultimately produced

  (after three months’ delay) “compelling evidence” that contradicted Defendants’ assertions.

         5.      Rather than accept the clear proof of delays set forth in the data produced by OES

  in January 2019 (“OES Data”), six months after CNS filed this action, and seek to resolve the

  case at that time, Defendants attacked the OES Data that indicated when cases were made public

  on the ground that the electronically recorded scan date, which marks the moment cases become

  public (and therefore provides an end-point for delay calculations), was unreliable because of a

  wholly unsupported allegation regarding rescanning, which this Court concluded was a “red

  herring.” Trial Tr. Vol. 4, at 592:1; see also February 20, 2020 Opinion and Order (“Opinion”),

  ECF No. 102, at 15, ¶ 55(f) (noting that Defendants’ own testimony was uniform that rescanning

  rarely occurred).




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                     INFORMATION REGARDING CNS’ TRIAL TEAM

  Lead Trial Counsel Role and Responsibilities

         William J. Hibsher

         6.     I have been a Senior Counsel in the New York office of BCLP since 2014. From

  2004 to 2014, I was a partner in the New York office of BCLP and its predecessor firm, Bryan

  Cave LLP (which I will also refer to herein as BCLP for ease of reference). I graduated cum

  laude from St. John’s University School of Law in 1974 and was admitted to the Bar of the State

  of New York in 1975 and to practice before the U.S. District Courts for the Southern and Eastern

  Districts of New York and the U.S. Court of Appeals for the Second Circuit that same year.

  Upon graduation from law school, I was a litigation associate with the New York law firm now

  known as Kramer Levin Naftalis & Frankel LLP.

         7.     In 1977, I became an Assistant United States Attorney for the Southern District of

  New York, and in 1980, I was named Chief of the Civil Rights Unit of that Office. In 1982, I

  returned to private practice as an associate at Teitelbaum & Hiller, a small New York firm

  specializing in civil rights litigation, and became a partner of that firm in 1983. In 1996,

  Teitelbaum & Hiller (then known as Teitelbaum, Hiller, Rodman, Paden & Hibsher) dissolved,

  and I joined Robinson Silverman Pearce Aronson & Berman. That firm merged with Bryan

  Cave LLP in 2004. A copy of my law firm webpage biography is attached hereto as Exhibit A.

         8.     For over forty years, I have practiced civil litigation, and regularly take on cases

  involving constitutional issues, either on behalf of a party or an amicus, and estimate no fewer

  than 25 such matters over the years. I have also served on the boards of directors of numerous

  civil rights and social justice organizations and was a member of New York City’s Human




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  Rights Commission for five years. I am the recipient of lifetime achievement awards from

  Lambda Legal, the LGBT Bar Association of New York, and Family Equality Council.

            9.    In 2015, I joined the team of lawyers at BCLP who had been representing CNS in

  a variety of First Amendment matters, including several federal lawsuits in which CNS asserted

  its right to timely access to newly-filed civil complaints in state courts pursuant to the First

  Amendment. Attorneys now associated with BCLP have represented CNS, a nationwide news

  service that focuses its reports on civil litigation, since at least as early as 2002. BCLP has

  represented CNS since 2012.

            10.   In 2016, I served as lead counsel in Courthouse News Service v. Tingling, Case

  No. 1:16-cv-08742-ER (S.D.N.Y. Nov. 10, 2016). In Tingling, CNS obtained a preliminary

  injunction requiring the Clerk of the Supreme Court, New York County to provide timely access

  to newly-filed civil complaints and precluding administrative processing of those complaints

  prior to access. The complaint alleged that while CNS did have access to 66% of newly-filed

  complaints on the day of filing, one-third of new civil filings were delayed by at least one day.

  Following the issuance of the preliminary injunction in CNS’ favor, the parties entered into a

  consent judgment and compromised CNS’ claim for an attorneys’ fee award of $500,000 (the

  amount of fees CNS asserted) for a settled agreed payment of $335,000 in fees.

            11.   In 2017, I served as lead counsel in Courthouse News Service v. Idoni, Case No.

  7:17-cv-04214-NSR (S.D.N.Y. June 5, 2017), which sought timely access to newly-filed civil

  complaints against the Clerk of the Supreme Court, Westchester County. Defendant entered into

  a consent judgment within days of the commencement of the action, and attorneys’ fees were not

  sought.




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          12.       Following the Tingling and Idoni cases, the clerks of 46 other New York Counties

  voluntarily agreed to provide CNS with the same access to newly-filed civil complaints as the

  Tingling and Idoni defendants. To date, access in these New York courts has been timely, and

  CNS has not sought any post injunction relief from the courts.

          13.       In 2016, I served as lead counsel in CNS v. Gabel, et. al, Case No. 2:17-cv-00043-

  D. Vt. Mar. 17, 2017), a facial challenge to a Vermont Rule of Civil Procedure that provided that

  all newly-filed civil complaints would be maintained by the clerks of the courts of Vermont in a

  confidential manner until all defendants named in newly filed litigations were served with a copy

  of the complaint. Following the filing of the complaint in Gabel, I provided a draft of a motion

  for a preliminary injunction that I intended to file on CNS’ behalf to the Vermont Attorney

  General’s office, and within 30 days, the Vermont Supreme Court rescinded the rule at issue in

  the case, and the case was dismissed. No attorneys’ fees were requested.

          14.       In addition to the several lawsuits on CNS’ behalf, I have represented CNS

  regarding issues involving access to newly-filed civil complaints in Maine, Massachusetts, and

  New Jersey, and have generally been involved in analysis of access issues in a number of other

  states as well.

          15.       In the course of these several litigations and other access matters on behalf of

  CNS, I believe that I and the other lawyers on the CNS trial team (as identified below) have

  developed the knowledge and familiarity with the client and the relevant law to make us

  experienced in the issues that were anticipated in the Schaefer Matter.




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        16.      Other lawsuits brought by BCLP asserting First Amendment rights on behalf of

  CNS include:

                 •   Courthouse News Service v. Jackson, et al., Case No. 4:09-cv-01844 (S.D.

                     Tex. June 12, 2009) – In July 2009, the district court granted CNS’ motion for

                     preliminary injunction and, in December 2009, denied defendants’ motion to

                     dismiss. This case was ultimately resolved through a stipulated permanent

                     injunction entered in March 2010. Pursuant to the stipulated injunction, the

                     defendant clerk paid more than $250,000 in fees; the fees CNS incurred were

                     slightly above that amount;

                 •   Courthouse News Service v. Planet, Case No. 2:11-cv-08083-SJO-FFM (C.D.

                     Cal. Sept. 29, 2011) – In Planet, after two appeals – first appeal 750 F.3d 776

                     (9th Cir. 2014) (reversed district court’s dismissal on abstention grounds and

                     remanded), second appeal 614 Fed. Appx. 912 (9th Cir. 2015) (unpublished)

                     (reversed district court’s dismissal for failure to state a claim and remanded) –

                     the district court granted CNS’ motion for summary judgment in part and

                     entered judgment in CNS’ favor. CNS sought total fees of approximately

                     $5,160,000 and costs of roughly $57,000.         The district court ultimately

                     awarded CNS $2,062,752 in fees and $52,893.98 in costs. The fee decision

                     was the subject of a cross-appeal and was not directly addressed in the Ninth

                     Circuit’s recent decision in the third Planet appeal, 947 F.3d 581 (9th Cir. Jan.

                     17, 2020), except to vacate the fee award and remand to the district court for

                     further proceedings.




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         17.     I have overseen all aspects of this case from its inception through trial and this

  application for attorneys’ fees. As lead attorney, I was responsible for communicating with the

  client at all junctions, including regular communication regarding case developments, strategic

  decisions, court filings, and staffing. Having been involved in this matter since its inception, it

  was necessary and critical that I review most documents and filings to ensure accuracy,

  consistency, quality, and conformity with applicable rules and procedures. I participated in or

  oversaw the drafting and preparation of all pleadings, motion papers, discovery requests,

  disclosures, and other written briefs or submissions to the court and opposing counsel. I also

  participated in and oversaw the preparation of witnesses for depositions and trial testimony, our

  expert witness for her expert report and rebuttal report and trial testimony, and trial preparation.

         18.     My standard hourly billing rates during the 2018-2020 period were: $815 (2018),

  $850 (2019), and $885 (2020). My hourly rate charged to CNS for this case during all periods

  was/is $734. For the purposes of this attorneys’ fee application, my hourly rate is $730.

         19.     For purposes of this attorneys’ fee application, CNS is claiming 883.3 hours

  worked by me, of which 146.6 hours were from April 1, 2018 to December 31, 2018; 551.1

  hours were from January 1, 2019 to December 31, 2019; 170.8 hours were from January 1, 2020

  through February 5, 2020 (the conclusion of trial); and 14.8 hours were from February 6, 2020 to

  February 28, 2020 (representing time for the preparation of CNS’ fee application).

  Remaining Trial Team Attorneys/Professional’s Biographies and Rates

         Heather S. Goldman

         20.     Since January 1, 2020, Heather S. Goldman has been a partner in the Washington,

  D.C. office of BCLP. Prior to January 1, 2020, Ms. Goldman was an associate in BCLP’s New

  York office (from April 2008 – July 2010) and Washington, D.C. (from July 2010 – December




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  31, 2019). Ms. Goldman graduated from Georgetown University Law Center in 2008. Ms.

  Goldman was admitted to practice in New York in 2008, New Jersey in 2008, and the District of

  Columbia in 2011. She regularly assists clients resolving commercial disputes and responding to

  government investigations and inquiries. Ms. Goldman has represented clients in connection

  with matters involving the First Amendment and other media law issues, the Americans with

  Disabilities Act and website accessibility, intellectual property disputes, and false advertising. A

  copy of Ms. Goldman’s law firm webpage biography is attached hereto as Exhibit B.

         21.     Prior to joining BCLP as an associate, Ms. Goldman was an award-winning

  producer at CNN for seven years, covering legal news on Burden of Proof from 1999 to 2001

  and then political and general news on Late Edition with Wolf Blitzer from 2001 to 2007. While

  at CNN, Ms. Goldman received an Emmy for her contribution to the coverage of the September

  11th terror attacks, a duPont Award for her contribution to the coverage of the Tsunami disaster

  in South Asia, and a Peabody Award for her contribution to the coverage of Hurricane Katrina

  and its aftermath.

         22.     Ms. Goldman has assisted CNS in a variety of matters since 2014, including as

  part of the Tingling case team.

         23.     Ms. Goldman’s standard hourly billing rates during the 2018-2020 period were:

  $660 (2018), $695 (2019), and $745 (2020). Ms. Goldman’s hourly rate charged to CNS for this

  case during all periods was/is $594.      For purposes of this attorneys’ fee application, Ms.

  Goldman’s hourly rate is $590.

         24.     For purposes of this application, CNS is claiming 1,204 hours worked by Ms.

  Goldman, of which 312.8 hours were from April 1, 2018 to December 31, 2018; 654.7 hours

  were from January 1, 2019 to December 31, 2019; 172.6 hours were from January 1, 2020




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  through February 5, 2020 (the conclusion of trial); and 63.9 hours were from February 6, 2020 to

  February 28, 2020 (representing time for the preparation of CNS’ fee application).

          Bryan J. Harrison

         25.     Bryan J. Harrison has been an associate in the Washington, D.C. office of BCLP

  since 2016. Mr. Harrison graduated magna cum laude from the University of Miami School of

  Law in 2010, where he was Order of the Coif. Mr. Harrison was admitted to practice law in

  Maryland in 2010, the District of Columbia in 2013, and Florida in 2013. Following law school,

  Mr. Harrison served as a law clerk to the Honorable William T. Moore, Jr., District Judge,

  United States District Court for the Southern District of Georgia, from 2011 to 2013. From 2014

  to 2016, Mr. Harrison was a litigation associate at the law firm of Ballard Spahr LLP. Mr.

  Harrison represents clients in federal civil litigation and antitrust matters, including affirmative

  and defensive cases under the First Amendment, Administrative Procedures Act, and the

  Freedom of Information Act. A copy of Mr. Harrison’s law firm webpage biography is attached

  hereto as Exhibit C.

         26.     Mr. Harrison has assisted CNS in access matters since 2016, including

  communicating with clerk’s and other court staff throughout Maryland.

         27.     Mr. Harrison’s standard hourly billing rates during the 2018-2020 period were:

  $605 (2018), $655 (2019), and $705 (2020). Mr. Harrison’s hourly rate charged to CNS for this

  case during all periods was/is $545.      For purposes of this attorneys’ fee application, Mr.

  Harrison’s hourly rate is $545.

         28.     For purposes of this application, CNS is claiming 752.6 hours worked by Mr.

  Harrison, of which 226.2 hours were from April 1, 2018 to December 31, 2018; 405.1 hours

  were from January 1, 2019 to December 31, 2019; 83.6 hours were from January 1, 2020 through




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  February 5, 2020 (the conclusion of trial); and 37.7 hours were from February 6, 2020 to

  February 28, 2020 (representing time for the preparation of CNS’ fee application).

         Eileen M. Weiss

         29.     Eileen M. Weiss has been a paralegal in the Washington, D.C. office of BCLP

  since 1996.

         30.     Ms. Weiss’ standard hourly billing rates during the 2018-2020 period were: $345

  (2018), $360 (2019), and $375 (2020). Ms. Weiss’ hourly rate charged to CNS for this case

  during all periods was/is $310. For purposes of this attorneys’ fee application, Ms. Weiss’

  hourly rate is $290.

         31.     For purposes of this application, CNS is claiming 198.3 hours worked by Ms.

  Weiss, of which 46.9 hours were from April 1, 2018 to December 31, 2018; 82.1 hours were

  from January 1, 2019 to December 31, 2019; 56.3 hours were from January 1, 2020 through

  February 5, 2020 (the conclusion of trial); and 13.0 hours were from February 6, 2020 to

  February 28, 2020 (representing time for the preparation of CNS’ fee application).

  Local Counsel & Local Counsel Professionals’ Biographies and Rates

         Conrad M. Shumadine

         32.     For all relevant periods at issue for this fee application, Conrad M. Shumadine

  served as local counsel in the Schaefer Matter. Mr. Shumadine is a partner in the Norfolk,

  Virginia office of Willcox & Savage, P.C. Mr. Shumadine was admitted to practice law in the

  Commonwealth of Virginia in 1967. Mr. Shumadine’s extensive credentials during his fifty-plus

  years of practice are set forth in detail in his accompanying declaration and exhibits.

         33.     The hourly rate Mr. Shumadine charged to CNS for this case during all periods

  was/is $450. For purposes of this attorneys’ fee application, his hourly rate is $450.




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         34.     For purposes of this attorneys’ fee application, CNS is claiming 262.7 hours

  worked by Mr. Shumadine, of which 97.8 hours were from April 1, 2018 to December 31, 2018;

  86.2 hours were from January 1, 2019 to December 31, 2019; 59.3 hours were from January 1,

  2020 through February 5, 2020 (the conclusion of trial); and 19.4 hours were from February 6,

  2020 to February 28, 2020 (representing time for the preparation of CNS’ fee application).

         Patricia A. Yoder

         35.     For all relevant periods at issue for this fee application, Patricia A. Yoder, a

  litigation paralegal in the Norfolk, Virginia office of Willcox & Savage, P.C., assisted in this

  matter. Ms. Yoder’s experience and billing rates are detailed in the accompanying declaration

  and exhibits of Mr. Shumadine.

         Nilsa I. Martinez

         36.     For all relevant periods at issue for this fee application, Nilsa I. Martinez, a

  litigation support analyst in the Norfolk, Virginia office of Willcox & Savage, P.C., assisted in

  this matter. Ms. Martinez’s experience and billing rates are detailed in the accompanying

  declaration and exhibits of Mr. Shumadine.

                                     LITIGATION TIMELINE

         37.     This case involves serious First Amendment issues of first impression in this

  Court and in the United States Court of Appeals for the Fourth Circuit.

         38.     Following CNS’ tracking of delays by the CNS reporters from January to June

  2018 in the Norfolk Circuit Court and the Prince William Circuit Court, CNS filed its Complaint

  on July 19, 2018, seeking declaratory and injunctive relief against the clerks of both of the courts

  in their official capacities. ECF No. 1.




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  CNS’ Motion for Preliminary Injunction and CNS’ Subsequent Withdrawal of
  Motion for Preliminary Injunction

         39.        On July 20, 2018, CNS filed a Motion for Preliminary Injunction and

  Memorandum in Support with supporting declarations (ECF Nos. 4, 5), outlining CNS’ claims

  regarding delays in access to newly-filed civil complaints in the Norfolk and Prince William

  Circuit Courts.

         40.        On August 23, 2018, Defendants George E. Schaefer, clerk of the Norfolk Circuit

  Court (“Defendant Schaefer”), and Jacqueline C. Smith, clerk of the Prince William Circuit

  Court (“Defendant Smith,” and, with Defendant Schaefer, the “Defendants”) filed a Response in

  Opposition to CNS’ Motion for Preliminary Injunction (ECF No. 20), arguing that a preliminary

  injunction was improper given “Defendants’ compelling evidence that newly-filed complaints

  are ordinarily made accessible to the public on the same business day they are received for

  filing.” ECF No. 20 at 2.

         41.        Given Defendants’ factual contentions with respect to the delays at issue in CNS’

  Complaint and Motion for Preliminary Injunction, and in the interest of judicial economy, CNS

  withdrew its Motion for Preliminary Injunction so that CNS could discover from Defendants the

  “compelling evidence” they contended disproved CNS’ delay allegations. ECF No. 26. As

  explained below, CNS does not seek attorneys’ fees for the substantial work expended in

  preparing the preliminary injunction papers.

  Defendants’ Filing of Multiple (and Ultimately Unsuccessful) Motions to Dismiss

         42.        Also in August 2018, Defendants filed a Motion to Dismiss and Memorandum in

  Support, ECF Nos. 21, 22, arguing that CNS’ Complaint should be dismissed because, inter alia:

  a) CNS used “flawed and unsubstantiated data” and Defendants’ “evidence will establish that

  these claims are baseless,” b) OES was “a necessary and indispensable party;” and c) Defendant



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  Smith was misjoined to the lawsuit, making “venue in [the Norfolk Division] improper.” ECF

  No. 22, at 1-2. CNS had to research and brief the issues and opposed Defendants’ Motion to

  Dismiss. ECF No. 27. Defendants filed a Reply, again noting that “there is significant indicia

  that [the CNS delay statistics] are unreliable based on the misleading data that has been inserted

  into CNS’s Complaint.” ECF No. 29, at 3.

            43.   The Court held a Rule 16(b) Scheduling Conference on November 27, 2018 and,

  on November 28, 2018, entered a Scheduling Order setting a bench trial for June 18, 2019. ECF

  No. 32.

            44.   Over five months later, while Defendants’ Motion to Dismiss was still pending

  and after extensive discovery had taken place, see infra at pp. 18-28 (Discovery & Third-Party

  Discovery), Defendants filed a Motion for Abstention and Memorandum in Support. ECF Nos.

  35, 36. While this additional argument was untimely and without merit, CNS again had to

  research and brief the issues for its opposition. ECF No. 43. Defendants filed a Reply, claiming

  that CNS’ opposition on untimeliness grounds and unavailability of abstention under prevailing

  law “are meritless.” ECF No. 45, at 2.

            45.   On March 13, 2019, the Court held a hearing on Defendants’ Motion to Dismiss

  and Motion for Abstention. ECF No. 46. The Court denied both of Defendants’ motions at the

  hearing and issued a written Opinion & Order on March 18, 2019, largely adopting the

  arguments asserted by CNS in its oppositions. ECF No. 48.

  The Parties’ Cross-Motions for Summary Judgment

            46.   On April 26, 2019, the parties filed cross-motions for summary judgment on an

  agreed-upon briefing schedule. ECF Nos. 53, 54 - Defendants; ECF Nos. 56, 57, 58, 59 - CNS.




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          47.    Defendants’ summary judgment filing was voluminous and contained 3

  declarations, and 20 additional exhibits, comprising over 1,100 pages. See ECF Nos. 53, 54.

  Relying upon the OES Data (Joint Trial Exhibit 1a-e), Defendants’ summary judgment brief

  claimed that the OES Spreadsheet data on the scan date was “unreliable to establish when a new

  complaint was initially scanned [and] thus, the OES metadata does not accurately provide a date

  that newly-filed civil complaints were first available[.]” ECF No. 54, at 9.

          48.    Because Defendants continued to deny the existence of any delays, CNS’

  summary judgment filing was voluminous and contained 8 declarations, and 37 additional

  exhibits, comprising over 1,800 pages. See ECF Nos. 56, 57, 58, 59 (and corresponding sub-

  filings).

          49.    On May 10, 2019, the parties filed Responses in Opposition to the Motions for

  Summary Judgment. ECF Nos. 60, 61. CNS’ opposition to Defendants’ summary judgment

  filing contained 3 declarations and 18 exhibits, comprising nearly 450 pages. See ECF No. 60.

  Defendants’ opposition to CNS’ motion for summary judgment contained one declaration, four

  additional exhibits, and comprised over 70 pages. See ECF No. 61. On May 24, 2019, the

  parties filed Replies in support of their Cross Motions for Summary Judgment. ECF Nos. 67, 68.

  CNS’ reply filing contained 2 declarations, 5 additional exhibits, and comprised nearly 100

  pages. See ECF No. 67 (and corresponding sub-filings). Defendants’ reply filing contained one

  exhibit and comprised 24 pages.

  Trial Preparation for First-Scheduled Trial (June 18, 2019) and First Trial Rescheduling

          50.    In addition to drafting CNS’ summary judgment opposition and cross-motion,

  CNS’ counsel was also preparing for trial, including preparing necessary disclosures and

  preparing witnesses, which was scheduled to begin on June 18, 2019.




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         51.       On May 15, 2019, the Court amended its scheduling order to reschedule the

  bench trial from June 18, 2019 to October 29, 2019. ECF No. 62.

         52.     During the Summer and early-Fall of 2019, CNS’ counsel began preparing for the

  October trial, including drafting necessary disclosures (including proposed findings of fact and

  conclusions of law and the proposed pretrial order with factual contentions and triable issues),

  and preparing witnesses.

         53.     On October 7, 2019, counsel for CNS and counsel for Defendants held an

  attorneys’ conference in the Norfolk, Virginia office of Willcox & Savage, P.C. to discuss the

  necessary pretrial disclosures and pretrial order.

  Trial Preparation for Second-Scheduled Trial (October 28, 2019) and Second Rescheduling

         54.     On October 23, 2019, after extensive preparation for the October 29, 2019 trial

  date had occurred, the Final Pretrial Conference was rescheduled for January 16, 2020, and the

  bench trial was rescheduled for January 28, 2020.

         55.     During late-2019 and January 2020, CNS’ counsel again continued preparing for

  the January 2020 trial, including revising and drafting necessary disclosures (including proposed

  findings of facts and conclusions of law and the proposed pretrial order with factual contentions

  and triable issues), and preparing witnesses. As part of CNS’ trial preparation, BCLP conducted

  trial preparation sessions with William Girdner (CNS’ Editor and Founder), Ryan Abbott (CNS’

  Southeast Bureau Chief), Amita Kancherla (CNS’ expert witness), Jocelyn Rardin, Joan

  Hennessey, and Brandi Buchman (CNS’ reporters covering Defendants’ courts who were also

  included on Defendants’ witness list). Given the nature of the trial and testimony elicited from

  other witnesses, CNS decided not to call any of the CNS reporters and they were also not called

  by Defendants.




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          56.     On January 16, 2020, at the Final Pretrial Conference, the Court heard argument

  on the parties’ cross-motions for summary judgment and denied both motions. ECF No. 76. The

  Court stated that CNS has “a legitimate complaint under the First Amendment to have these civil

  complaints made available,” that “a fair resolution of this case would be for the Court to declare

  that [CNS] ha[s] a First Amendment right to contemporaneous access to all civil cases,” and that

  “I would define contemporaneous meaning on the date that they’re filed insofar as that’s

  practicable.” Transcript of Proceedings, January 16, 2020, ECF No. 75, at 30:4-6, 37:21-25.

  The Court then afforded the parties an opportunity “to confer with each other and tell me if you

  can agree on some kind of language that declares -- I mean, the Court’s persuaded that you have

  the First Amendment right and that you’re entitled to some form of relief.” Id. at 38:18-22. The

  Court stated that “[i]t would be wise” if trial could be “avoided” and the parties could “resolve

  everything but attorneys’ fees.” Id. at 49:19-21.

          57.     While CNS believed that an injunction was justified, it was amenable to the

  Court’s declaratory judgment language and proposed disposition of the case. Following the

  court hearing, Defendants informed CNS that it would not accept the Court’s declaratory

  judgment language, and no agreement was reached by and among the parties.

          58.     Because of an ongoing criminal trial, this trial did not commence as scheduled on

  Tuesday, January 28, 2020, and BCLP counsel and support staff (as well as local counsel), CNS’

  witnesses, and its expert were housed in Norfolk, Virginia for the week of January 27, 2020

  preparing for and in anticipation of the start of trial.

  Bench Trial Held January 31, 2020 – February 5, 2020

          59.     The trial started on Friday, January 31, 2020, and lasted through Wednesday,

  February 5, 2020.




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           60.   The Court announced its decision from the bench following closing arguments on

  February 5, 2020. The Court concluded that approximately 35-40% of civil filings in the

  Norfolk Circuit Court were made available on the same day – thus, 60-65% were withheld for

  one day or longer – and approximately 60% of new civil filings in the Prince William Circuit

  Court were made available on the same day. See Trial Tr. Vol. 4, at 588:22-589-1, 589:23-25.

  The Court also noted that Defendants’ position was “setting up a straw man and then knocking

  him down” and called Defendants’ oft-repeated arguments about rescanning (and Defendants’

  expert’s exclusive reliance on), “a red herring.” Id. at 581:13-14, 592:1.

           61.   The Court provided CNS with a declaratory judgment virtually identical to that

  suggested at the Final Pretrial Conference: “The First Amendment requires that [newly-filed

  court documents] be made available contemporaneously with their filing. Contemporaneously

  means the same day unless that’s not practicable [and] the Court believes that approximately 85

  to 90 percent of the new civil filings should be made available on the same day as filed.” Trial

  Tr. Vol. 4, at 587:20-23, 590:24-591:1.

           62.   On February 20, 2020, the Court issued its written Opinion and Order.

           63.   CNS brought this suit to enforce a fundamental First Amendment right of the

  press and public, and the declaratory relief afforded CNS represents a decisive victory not only

  for CNS, but for other media and the public at large. Indeed, the Court’s decision has received

  extensive publicity in the media, further demonstrating the importance of the decision. See

  Judge Says State Courts Must Offer Timely Access to New Filings, Associated Press (Feb. 23,

  2020),     https://apnews.com/163fad0b6f4f9c72b54c75fb2948922c           (republished   by   The

  Washington Post, WTKR3, The Miami Herald, and U.S. News and World Report).




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                         DISCOVERY & THIRD-PARTY DISCOVERY

          64.    The parties undertook robust discovery in this case, including interrogatories,

  requests for the production of documents (“RFPD”), requests for admission, and depositions in

  this case.

          65.    CNS was required to conduct extensive fact discovery in order to establish,

  among other things, that Defendants had a policy, practice, or custom of delaying access to

  newly-filed civil complaints, and that due to this policy, practice, or custom, CNS had been

  denied access. Defendants repeatedly denied not only the existence of such policy, practice, or

  custom, but also the existence of any delays in the processing of newly-filed civil complaints,

  instead relying on conclusory statements that there was “compelling evidence” disproving CNS’

  delay allegations. See Opinion at 13, ¶ 52 (citing Defendants’ Answer, ECF No. 52); see

  generally infra. Defendants also flatly denied the existence of data establishing processing times

  for newly-filed civil complaints.

          66.    Accordingly, CNS was forced to conduct not only extensive fact discovery, but

  also to retain an expert witness once it was finally able to obtain electronic data maintained by

  OES that established processing times for newly-filed civil complaints.

          67.    Over several months of discovery, Defendants offered numerous justifications for

  why it was not possible to provide such data: sometimes it was that no such data existed (see,

  e.g., Schaefer’s Response to CNS’ First Set of Requests for Production of Documents Nos. 10-

  21; Smith’s Response to CNS’ First Set of Requests for Production of Documents No. 9-20); at

  other times, it was because the data was not within Defendants’ possession, custody, or control

  (see, e.g., Schaefer’s Objections to CNS’ First Set of Requests for Production of Documents

  Nos. 10-21; Smith’s Objections to CNS’ First Set of Requests for Production of Documents No.




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  9-20); and eventually asserting that the OES Data produced pursuant to a subpoena by OES was

  “unreliable and should not be used.” Defendants’ Proposed Findings of Facts and Conclusions

  of Law, ECF No. 85, at 19 n.2.

         68.     CNS was entitled to receive the scan date data when it was first requested from

  Defendants, regardless of what Defendants or anyone else claims that it represents.           The

  sequence of events and CNS’ significant undertakings to obtain this critical information – placed

  in issue by Defendants’ positions and arguments – is outlined in detail below.

         69.     Defendants also propounded extensive written discovery on CNS – serving a total

  of five sets of interrogatories (Schaefer 3, Smith 2); four sets of requests for the production of

  documents (Schaefer 2, Smith 2); two requests for admission (Schaefer 1, Smith 1). In addition,

  Defendants took four depositions – 3 fact depositions and a 30(b)(6) deposition.

  CNS’ Written Discovery Requests, Document Requests & Defendants’ Productions

         70.     Given Defendants’ repeated denials that there were any delays at all during the

  period at issue in the Complaint, CNS propounded written discovery as follows: On September

  12, 2018, CNS served on Defendant Schaefer its First Set of Interrogatories and First Set of

  Requests for Production of Documents. On September 27, 2018, Defendant Schaefer served

  objections to these discovery requests. On October 19, 2018, Defendant Schaefer served his

  answers to interrogatories and responses to the requests for production, as well as 186 pages of

  documents.

         71.     On September 12, 2018, CNS served on Defendant Smith its First Set of

  Interrogatories and First Set of Requests for Production of Documents. On September 27, 2018,

  Defendant Smith served objections to these discovery requests. On October 19, 2018, Defendant




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  Smith served her answers to interrogatories and responses to the requests for production, as well

  as 181 pages of documents.

         72.     On October 23, 2018, Defendants’ counsel produced to CNS’ counsel 1,980 pages

  of additional documents.

         73.     Defendants consistently responded “none” when asked for documents with

  information about various processing dates and times for newly-filed civil complaints: In CNS’

  First Set of Requests for Production of Documents to both Defendants, CNS requested

  “[d]ocuments reflecting or sufficient to establish the number of new paper complaints filed with

  the [Norfolk/Prince William] Circuit Court from January 1, 2018 to the present.” Schaefer

  RFPD No. 10; Smith RFPD No. 9. The Response from both Defendants was “None.” The same

  request was made for e-filed complaints and Defendants again responded with “None.” See

  Schaefer RFPD No. 11; Smith RFPD No. 10.

         74.     In CNS’ First Set of Requests for Production of Documents to both Defendants,

  CNS requested “[d]ocuments reflecting the date and time each new paper civil complaint was

  initially received for filing by the [Norfolk/Prince William] Circuit Court.” Schaefer RFPD No.

  12; Smith RFPD No. 11. The Response from both Defendants was “None.” The same request

  was made for e-filed complaints and Defendants again responded with “None.” See Schaefer

  RFPD No. 13; Smith RFPD No. 12.

         75.     In CNS’ First Set of Requests for Production of Documents to both Defendants,

  CNS requested “[d]ocuments reflecting the date and time each new paper civil complaint was

  first accessible for viewing by the public and/or the media at the public access terminals located

  within the [Norfolk/Prince William] Circuit Court Clerk’s Office.” Schaefer RFPD No. 14;

  Smith RFPD No. 13. The Response from both Defendants was “None.” The same request was




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  made for e-filed complaints and Defendants again responded with “None.” See Schaefer RFPD

  No. 15; Smith RFPD No. 14.

         76.     In CNS’ First Set of Requests for Production of Documents to both Defendants,

  CNS requested “[d]ocuments reflecting the date and time each new paper civil complaint was

  scanned into digital form.” Schaefer RFPD No. 16; Smith RFPD No. 15. The Response from

  both Defendants was “None.” The same request was made for when e-filed complaints were

  “accepted” and Defendants again responded with “None.” See Schaefer RFPD No. 17; Smith

  RFPD No. 16.

         77.     In CNS’ First Set of Requests for Production of Documents to both Defendants,

  CNS requested “[d]ocuments reflecting the date and time when the filing fee for each new paper

  civil complaint was Processed, including but not limited to payment receipts issued to filers or

  other records reflecting the dates and times when payment receipts were issued and any

  Documents reflecting the date and time of payment clearance or approval.” Schaefer RFPD No.

  18; Smith RFPD No. 17. The Response from both Defendants was “None.” The same request

  was made for e-filed complaints and Defendants again responded with “None.” See Schaefer

  RFPD No. 19; Smith RFPD No. 18.

         78.     In CNS’ First Set of Requests for Production of Documents to both Defendants,

  CNS requested “[d]ocuments reflecting the amount of time that elapsed from when each new

  paper civil complaint was received at the [Norfolk/Prince William] Circuit Court for filing to the

  moment it became accessible for viewing on the public access computer terminals.” Schaefer

  RFPD No. 20; Smith RFPD No. 19. Defendants both objected on the basis of “attorney-client

  privilege and work product doctrine” and then responded with “None.” The same request was




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  made for e-filed complaints and Defendants again responded with “None.” See Schaefer RFPD

  No. 21; Smith RFPD No. 20.

         79.     These responses are in contradiction to both Defendants’ Answers to

  Interrogatories Nos. 5 and 12, which recognized the existence of “statistical data” and stated that

  any compilation of such data “would need to be extracted manually through an individual case-

  by-case review in CCMS and recording the statistical information by hand.” As third-party

  discovery ultimately yielded, however, OES could generate such reports and no such manual

  extraction was required.

         80.     On October 25, 2018, CNS’ counsel sent Defendants’ counsel a deficiency letter

  regarding these (and other) discovery responses and the document production. On October 30,

  2018, Defendants’ counsel sent CNS’ counsel a response letter noting that “Defendants have

  requested information responsive to Document Request Nos. 10-21 (Schaefer) and Document

  Request Nos. 9-20 (Smith) from OES. OES is in the process of addressing these requests.”

         81.     On November 9, 2018 and November 14, 2018, Defendants produced to CNS a

  combined 902 pages of documents and a native Microsoft Excel Spreadsheet.                However,

  whatever the source of these additional documents, they did not address concerns raised by CNS’

  October 25, 2018 letter – namely, to be provided data establishing when newly-filed civil

  complaints were filed and when they were scanned or made available to the public. CNS’ efforts

  to obtain this responsive information is detailed in “Third-Party Discovery” below.

         82.     On January 4, 2019, CNS served on Defendant Schaefer its Second Set of

  Requests for Production of Documents.        On January 22, 2019, Defendant Schaefer served

  objections to this discovery request. On February 4, 2019, Defendant Schaefer served responses

  to this discovery request.




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         83.    On February 12, 2019, CNS served on Defendant Smith its Second Set of

  Requests for Production of Documents.        On February 27, 2019, Defendant Smith served

  objections and responses.

         84.    On March 8, 2019, CNS served on Defendant Schaefer its Second Set of

  Interrogatories, Third Set of Requests for Production of Documents, and First Set of Requests for

  Admission. On April 1, 2019, Defendant Schaefer served objections to these discovery requests.

  On April 10, 2019, Defendant Schaefer served responses to these discovery requests; he then

  served Supplemental Responses to CNS’ Second Set of Interrogatories on April 23, 2019.

         85.    On March 8, 2019 CNS served on Defendant Smith its Second Set of

  Interrogatories, Third Set of Requests for Production of Documents, and First Set of Requests for

  Admission. On April 1, 2019, Defendant Smith served objections to these discovery requests.

  On April 10, 2019, Defendant Smith served responses to these discovery requests; she then

  served Supplemental Responses to CNS’ Second Set of Interrogatories on April 23, 2019.

         86.    Defendant Schaefer produced over 6,200 pages of documents in response to CNS’

  document requests and Defendant Smith produced over 3,200 pages of documents in response to

  CNS’ document requests. However, Defendants’ voluminous document productions lacked the

  “compelling evidence” Defendants repeatedly claimed established the absence of any delays in

  making newly-filed complaints publicly available. As a result, CNS was required to conduct

  third-party discovery to obtain the OES Data.

  Defendants’ Refusal to Produce Responsive Records Forced CNS to Conduct
  Third-Party Discovery of OES

         87.    On or about November 19, 2018, without having received responsive material

  from Defendants (as propounded in discovery), CNS served a subpoena and subpoena duces

  tecum upon counsel for OES. ECF No. 57-1, at 203-214.



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         88.    The subpoena duces tecum requested, inter alia, documents for the Norfolk and

  Prince William Circuit Courts that:

         [I]ndicate for each new civil complaint: the date and time a civil complaint is first
         submitted for filing; the date and time a civil complaint is first received for filing;
         the date and time of credit card pre-authorization for each complaint (if
         applicable); the date and time when the filing fee for each new civil complaint
         was processed[;] the date and time reflecting when filing fee payments were
         approved or processed; the date and time each civil complaint is scanned into
         digital form (if applicable) through CCMS, CIS, or FMS; the date and time each
         new civil complaint is first inputted into CCMS, CIS, or FMS; the date and time
         of acceptance by the respective circuit court clerk’s office of each newly-filed
         complaint; the date and time of the “cashier code” entry by the respective circuit
         court clerk’s offices (if applicable); and the date and time each civil complaint
         was made available for viewing on the public access terminals.

  Id. at 213

         89.    The subpoena duces tecum also requested documents for the Norfolk and Prince

  William Circuit Courts “reflecting or sufficient to establish the number of new complaints filed

  [during the relevant period]” and “[d]ocuments reflecting the amount of time that elapsed from

  when each new civil complaint was received [...] for filing [...] to the moment it became

  accessible for viewing on the public access computer terminals.” Id. at 213.

         90.    On December 14, 2018 and December 18, 2018, counsel for OES produced

  documents in response to the subpoena duces tecum.

         91.    However, the December 14, 2018 and December 18, 2018 document productions

  did not contain any documents containing data on when new paper civil complaints were

  scanned into CIS or made available to the public. Instead, OES produced documents providing

  data on when the basic case information was made available on the public access computer

  terminals.

         92.    On December 19, 2018, counsel for CNS took the deposition of Robert Smith, the

  OES designee, pursuant to the OES subpoena. During his deposition (at which Defendants’



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  counsel was present), Mr. Smith testified – and CNS learned for the first time in this case – that

  OES does “track when documents are scanned,” and that OES “can give you reports of when --

  of when every image was scanned, but we cannot tell you when the first image to a case was

  scanned.” Deposition Testimony of Robert Smith, read in to record, Transcript of Proceedings,

  February 4, 2020 (“Trial Tr. Vol. 3”), ECF No. 94, at 413:5-16; 414:25-415:2.

         93.     On January 17, 2019, counsel for OES made a supplemental document production

  of documents responsive to the subpoena duces tecum to include two new columns in the OES

  Data: “DATETIME_AVAILABLE_IN_CIS”(Column 11) and “DATETIME_DOCUMENTS_

  AVAILABLE_TO_PUBLIC” (Column 14). The OES Data spreadsheet largely comprised what

  was Joint Trial Exhibit 1a-e. This was the first time in this litigation that Defendants or OES

  provided any documents with data containing the date that complaints were scanned and made

  available to the public, notwithstanding CNS’ months-long and time-consuming requests and

  attempts to obtain such data.

         94.     The OES Data contradicts Defendants’ prior statements that no such records

  existed and, as the Court ultimately found, contradicts Defendants’ repeated and blanket denial

  that no delays in access to newly-filed civil complaints existed.

  Defendants’ Written Discovery Requests, Document Requests & CNS’ Production

         95.     On October 12, 2018, Defendants separately served CNS with their First Sets of

  Interrogatories and First Sets of Requests for Production of Documents. On October 29, 2018,

  CNS served objections to these discovery requests. On November 20, 2018, CNS served its

  answers to interrogatories and responses to the requests for production of documents.

         96.     On February 15, 2019, CNS served on Defendants’ counsel its Supplemental

  Response to Interrogatory No. 10.




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         97.     On February 19, 2019, counsel for CNS served its privilege log on counsel for

  Defendants.

         98.     On March 14, 2019, Defendant Schaefer served CNS with his Second Set of

  Interrogatories. On March 29, 2019, CNS served objections to these interrogatories. On April

  15, 2019, CNS served its answers to the interrogatories.

         99.     On March 22, 2019, CNS served on Defendants’ counsel its Supplemental

  Responses to Request Nos. 3, 4, and 24 of Defendant Schaefer’s Requests for the Production of

  Documents and its Supplemental Responses to Request Nos. 3, 4, and 24 of Defendant Smith’s

  Requests for the Production of Documents.

         100.    On April 4, 2019, counsel for CNS served a supplemental privilege log on

  counsel for Defendants.

         101.    On April 9, 2019, Defendant Schaefer served CNS with his Third Set of

  Interrogatories, Second Set of Requests for Production of Documents, and First Request for

  Admission, and Defendant Smith served CNS with her Second Set of Interrogatories, Second Set

  of Requests for Production of Documents, and First Request for Admission. On April 24, 2019,

  counsel for CNS served on counsel for Defendants its objections to Schaefer’s Third Set of

  Interrogatories, Second Set of Requests for Production of Documents, and First Request for

  Admission, and its objections to Smith’s Second Set of Interrogatories, Second Set of Requests

  for Production of Documents, and First Request for Admission. On May 9, 2019, counsel for

  CNS served on counsel for Defendants its objections and responses to Schaefer’s Third Set of

  Interrogatories, Second Set of Requests for Production of Documents, and First Request for

  Admission, and its objections and responses to Smith’s Second Set of Interrogatories, Second Set

  of Requests for Production of Documents, and First Request for Admission.




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         102.   On April 30, 2019, CNS served on Defendants’ counsel its Supplemental

  Response to Schaefer Interrogatory No. 19 and its Supplemental Response to Smith

  Interrogatory No. 16.

         103.   On May 9, 2019, CNS served on Defendants’ counsel its Second Supplemental

  Responses to Request Nos. 3 and 24 of Defendant Schaefer’s Requests for the Production of

  Documents and its Second Supplemental Responses to Request Nos. 3 and 24 of Defendant

  Smith’s Requests for the Production of Documents.

         104.   On May 9, 2019, counsel for CNS served a second supplemental privilege log on

  counsel for Defendants.

         105.   CNS produced to Defendants documents on or about November 20, 2018,

  November 21, 2018, November 27, 2018, December 6 2018, January 15, 2019, February 15,

  2019, March 19, 2019, April 23, 2019, May 6, 2019, and May 9, 2019.

         106.   In all, CNS produced over of 8,650 pages of documents in response to

  Defendants’ document requests.

  Depositions

         107.   During the period from September 2018 through March 2019, both parties also

  took numerous depositions. CNS took the depositions of Defendant Schaefer on November 28,

  2018; Tom Larson (Norfolk Chief Deputy Clerk) on November 29, 2018; Brenda Elford (Prince

  William Civil Division Supervisor) on January 7, 2019; Defendant Smith on January 8, 2019;

  Jillian Richards (Prince William Deputy Clerk Manager) on January 9, 2019; Crystal Porter

  (Norfolk Civil Division Supervisor) on February 6, 2019; a 30(b)(6) designee on behalf of the

  Prince William Circuit Court on March 21, 2019; and a 30(b)(6) designee on behalf of the




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  Norfolk Circuit Court on March 28, 2019. The necessity of each of these depositions is amply

  demonstrated by the record in this case and as adduced at trial.

         108.    CNS defended the following depositions taken by Defendants’ counsel: Jocelyn

  Rardin (CNS’ Norfolk Reporter) on February 4, 2019; Joan Hennessey (CNS’ Prince William

  Reporter) on February 4, 2019; Ryan Abbott (Southeast Regional Bureau Chief) on February 5,

  2019; and a 30(b)(6) designee on behalf of CNS on April 8, 2019.

                           CNS’ RETENTION OF EXPERT WITNESS

         109.    Given Defendants’ dispute over the factual allegations regarding delays in the

  processing of newly-filed civil complaints in the Norfolk and Prince William Circuit Court’s

  Clerks’ offices, CNS retained an expert witness to analyze and calculate the delays in both

  offices based on the OES Data.

         110.    In or around December 2018, CNS retained the services of Amita Kancherla, a

  Director at Alvarez & Marsal Disputes and Investigation, LLC’s Washington, D.C. office.

         111.    Ms. Kancherla was retained to analyze the OES Data for the relevant period

  addressed in CNS’ Complaint and calculate the number of court days it took for Defendants to

  make newly-filed civil complaints available to the public in both the Norfolk and Prince William

  Circuit Court Clerks’ offices.

         112.    Ms. Kancherla prepared two expert reports: a March 19, 2019 Report, ECF No.

  58-3, at 10-50, and a May 6, 2019 Rebuttal Report, ECF No. 60-3, at 73-136.

         113.    Ms. Kancherla’s March 19, 2019 Report found that from January through June

  2018 and based on the OES Data, 5% of complaints were made available to the public on the

  same day they were filed in the Norfolk Circuit Court and that, during the same period, 38% of




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  complaints were made available to the public on the same day they were filed in the Prince

  William Circuit Court.

         114.    The allegations of delays that comprised CNS’ Complaint were based on CNS’

  own tracking data compiled by CNS’ reporters (“CNS Tracking Data”) who covered the Norfolk

  and Prince William Circuit Courts on a daily basis. The CNS reporters recorded when cases

  were filed based on the date stamp that appeared on the complaints and the dates that these

  complaints were first made available for public viewing. The Complaint alleged that only 16%

  of newly-filed civil complaints were made available the same day in the Norfolk Circuit Court

  and only 27% of newly-filed civil complaints were made available the same day in the Prince

  William Circuit Court. ECF No. 1, ¶ 3. Delay calculations in the Complaint were made in

  calendar and not court days. For her analysis, Ms. Kancherla calculated delays in court days and

  made additional modifications to the OES Data, as explained below.

         115.    As part of her expert analysis, Ms. Kancherla reviewed the OES Data, compared

  such data with the CNS Tracking Data, interviewed the three CNS reporters assigned to the

  respective courts during the relevant period, traveled to the Norfolk and Prince William Circuit

  Court Clerk’s offices on multiple occasions to perform an independent verification of the date of

  filing by examining the physical file stamps on the complaints, and corrected the OES file date

  where appropriate. She also reviewed all deposition transcripts, reviewed Defendants’ document

  production of court closures, reviewed the CNS reporters’ timesheets, and spoke with counsel.

  ECF No. 58-3, at 18-20.

         116.    Ms. Kancherla’s May 6, 2019 Rebuttal Report responded to the April 19, 2019

  reports of Defendants’ expert, Dr. David W. Harless, in which he used an entirely different

  metric in presenting his delays and different end points for calculating such delays, and attacked




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  Ms. Kancherla’s reliance on the OES scan date as the date filings become available because of

  the possibility of rescanning. Ms. Kancherla’s rebuttal report addresses the many inconsistencies

  and issues with Defendants’ expert reports. Ms. Kancherla’s Rebuttal Report also calculates the

  length of delays (using the same methodology as her March 19, 2019 Report) for the period from

  July 1, 2018 to December 4, 2018. See generally ECF No. 60-3, at 73-136. Her Rebuttal Report

  also contains a supplemental analysis finding that after the filing of this lawsuit, same-day access

  to newly-filed civil complaints improved in both courts, reaching approximately 90% in the

  Norfolk Circuit Court Clerk’s Office and 78% in the Prince William Circuit Court Clerk’s

  Office. ECF No. 60-3, at 120-121.

          117.       BCLP relied on Ms. Kancherla for her analysis and understanding of the

  calculations in their summary judgment briefing as well as at trial, and BCLP attorneys

  conducted numerous trial preparation sessions with Ms. Kancherla.

          118.       Ms. Kancherla’s expert reports formed the basis for her February 3, 2020 trial

  testimony regarding her analysis of the OES Data and her use of the CNS Tracking Data to

  corroborate the OES Data, and her testimony was provided for the Court to use and rely upon in

  reaching its conclusion regarding the delays at issue.

          119.       The Court found that “Ms. Kancherla’s opinions are entitled to significant weight

  and are reasonably consistent with the OES statistics.” Opinion at 17, ¶ 62. The Court accorded

  Dr. Harless’ testimony “little weight” because he “relied on an incorrect data set for this case.”

  Id. at 13, ¶ 55.

          120.       CNS incurred $194,333.58 in costs associated with retaining Alvarez & Marsal

  and for the work relating to Ms. Kancherla’s expert report, rebuttal report, trial preparation, trial




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  testimony, and related matters. A detailed accounting of Alvarez & Marsal’s time and expenses

  is attached hereto as Exhibit D.

          FEE REQUEST & REDUCTION OF TIMEKEEPERS AND HOURS BILLED

          121.   CNS has incurred and is claiming a total amount of $2,258,505.83 in fees and

  costs from April 1, 2018 through February 28, 2020. Of that amount, $2,025,946.00 is for

  attorneys’ fees and $232,559.83 is for costs.       More specifically, CNS is claiming: (1)

  $1,890,198.50 in fees incurred prior to the conclusion of trial on February 5, 2020;1 (2)

  $135,747.50 in fees incurred after the conclusion of trial on the present fee motion and

  accompanying declarations;2 and (3) $232,559.83 in non-taxable costs.3

  Request for Fees Incurred Between April 1, 2018 through February 5, 2020

          122.   The CNS team at BCLP is comprised of many lawyers in various offices, led by

  CNS’ outside general counsel and BCLP partner Rachel Matteo-Boehm in BCLP’s San

  Francisco, California office, whose declaration attesting to CNS’ payment of BCLP’s invoices in

  this action is filed contemporaneously herewith.

          123.   A number of lawyers, paralegals, e-discovery database managers, and other

  professionals performed work on CNS’ behalf in connection with this matter, which started in

  2017.


  1
    For the April 1, 2018 through February 5, 2020 time period, $1,750,021.50 was billed by
  BCLP and $140,177.00 was billed by Willcox & Savage. See Ex. E; see also Declaration of
  Conrad M. Shumadine, Ex. 1.
  2
    This includes work performed between February 6, 2020 and February 28, 2020 by BCLP
  (amounting to $72,821.50) and Willcox & Savage ($8,842.00), and work performed through
  February 29, 2020 by Hunton Andrews Kurth ($54,084.00). See Ex. F; see also Declaration of
  Conrad M. Shumadine, Ex. 1; Declaration of Robert M. Tata, Ex. A.
  3
    Of this amount, $194,333.58 is related to work performed by Ms. Kancherla and Alvarez &
  Marsal, and $38,226.25 is related to travel and other expenses reasonably incurred in connection
  with the litigation. See Exs. D and G.


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         124.   However, for purposes of this attorneys’ fee application, CNS is only seeking

  attorneys’ fees for time billed by the three BCLP lawyers present for trial: myself, Heather

  Goldman, and Bryan Harrison, as well as for paralegal Eileen M. Weiss, and local counsel,

  Conrad M. Shumadine, paralegal Patricia Yoder, and litigation support analyst Nilsa Martinez.

         125.   While CNS’ trial team consisted of myself, Ms. Goldman, and Mr. Harrison, we

  divided the case effort among the three of us. For the most part, Ms. Goldman focused on the

  Norfolk Circuit Court – taking the depositions of the Norfolk witnesses and being prepared to

  examine those witnesses (both CNS’ and Defendants’) at trial – and Mr. Harrison focused on the

  Prince William Circuit Court – taking the depositions of the Prince William witnesses and being

  prepared to examine those witnesses (both CNS’ and Defendants’) at trial. When necessary,

  however, Ms. Goldman and Mr. Harrison performed tasks related to both Defendants. For

  example, Ms. Goldman defended the deposition of the CNS reporter covering Prince William

  and Mr. Harrison defended the deposition of the CNS reporter covering Norfolk. In addition,

  Mr. Harrison prepared and defended CNS’ Southeast Bureau Chief Ryan Abbott at his fact

  deposition, took the lead on discovery from OES, including taking the deposition of its designee,

  and cross-examined Crystal Porter, the Supervising Deputy in the Civil Division in Norfolk, at

  trial. Ms. Goldman prepared and defended Mr. Abbott for his 30(b)(6) deposition testimony, and

  also prepared Mr. Abbott for his trial testimony. She also prepared for the expected directed

  verdict motion made by Defendants, which the Court denied without hearing argument from

  CNS, and presented CNS’ closing argument. I conducted the Rule 30(b)(6) depositions of both

  parties, took the lead in preparing William Girdner (CNS’ Editor and Founder) and Amita

  Kancherla (CNS’ expert witness) for trial testimony, presented CNS’ Opening Argument, and

  conducted the cross-examination of Defendants’ expert witness.




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         126.       CNS is only seeking attorneys’ fees for time billed by these timekeepers after

  April 1, 2018.4

         127.       CNS has also removed substantial time entries associated with CNS’ Motion for

  Preliminary Injunction, which it withdrew after Defendants made factual contentions denying the

  existence of any delays and vowing to provide “compelling evidence” that no such delays

  existed.

         128.       Further, CNS has removed most time entries where there were two or more

  timekeepers concurrently performing similar tasks, or where two or more timekeepers were

  billing for the same event, i.e., there is only one timekeeper billed for depositions, even where

  there may have been two attorneys present, though two attorneys are billed if they attended court

  conferences, conferences with Defendants’ counsel, etc. Also, given the complexity of the

  issues, two attorneys are billed for attendance at the deposition of the OES designee.

         129.       There were several BCLP attorneys (not myself, Ms. Goldman, or Mr. Harrison)

  who were primarily responsible for the substantial electronic discovery, document production,

  and document review undertaken in this case. CNS has removed all of these attorneys’ time

  entries, and, as a result, is not seeking attorneys’ fees for the vast majority of time BCLP spent

  on electronic discovery, document production, and document review.

         130.       CNS has also removed time entries associated with tasks relating to ancillary

  issues that did not form the basis of the claims or defenses in this action. For example, during

  Defendant Smith’s deposition, she offered CNS access to the Prince William Circuit Court’s

  Officers of the Court Remote Access System (“OCRA”). Counsel for CNS undertook tasks

  relating to Defendant Smith’s offer and, accordingly, CNS has removed any time billed relating

  4
   CNS incurred attorneys’ fees prior to April 1, 2018 in connection with the Schaefer Matter, but
  CNS is not seeking any of those fees as part of this application for attorneys’ fees.


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  to that inquiry (which offer has not come to fruition) and other ancillary issues. In addition, CNS

  has removed any time billed relating to the revision of summary judgment briefs due to an error

  in spacing.

         131.     CNS is also not seeking recovery of fees incurred between February 6, 2020 and

  February 28, 2020 (the “Post-Trial Period”) that are related to general aspects of the case and the

  trial (i.e., reviewing transcripts from the trial proceedings, reviewing the Court’s Opinion and

  Order, etc.). As discussed below, however, CNS is seeking recovery of some of the fees

  incurred during this Post-Trial Period related to the preparation of this Fee Application.5

         132.     CNS has also removed significant amounts of billed time relating to all aspects of

  the litigation – written discovery requests, written discovery responses, document review,

  document production, deposition preparation materials, legal research, and assistance with

  drafting and editing briefs in connection with Defendants’ motions to dismiss and the parties’

  cross-motions for summary judgment – as some work related to these tasks were handled by

  attorneys and fee earners outside of the core CNS trial team. CNS has also reduced hours billed

  for specific tasks on the remaining entries where appropriate.

         133.     As explained above, the hourly rate charged to CNS for this case during all

  periods was kept the same. This hourly rate was based off the 2018 rates plus an approximate

  10% discount.

         134.     CNS’ counsel’s review and removal of these types of entries reduces the total

  amount of fees CNS seeks vis-a-vis the total amount of fees billed to and paid by CNS by a

  substantial amount. Indeed, CNS has voluntarily excluded more than one-third of the time billed


  5
    In order to complete the Fee Application in time for filing, CNS is only seeking fees related to
  the preparation of the Fee Application through February 28, 2020 for BCLP and Willcox &
  Savage, and through February 29, 2020 for Hunton Andrews Kurth LLP.


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  and paid from the lodestar calculation. See generally Declaration of Rachel Matteo-Boehm, filed

  contemporaneously herewith, and incorporated by reference.

         135.    CNS’ application for fees is supported by the detailed billing entries attached

  hereto as Exhibit E. The billing entries comprising Exhibit E are taken from my review of

  BCLP’s invoices sent to CNS and are the product of contemporaneous time entries made from

  the respective timekeeper on a regular basis and in the normal course of business.

         136.    CNS’ application for fees also seeks the attorneys’ fees for its local counsel,

  Conrad Shumadine, whose detailed billing entries are attached to the Declaration of Conrad M.

  Shumadine, filed contemporaneously herewith, and incorporated by reference.

         137.    In sum, CNS’ attorneys’ fee request seeks (by timekeeper) through the end of trial

  (February 5, 2020):


         Table 1 - Attorneys’ Fee Request from April 1, 2018 through February 5, 2020


          Timekeeper             Total Hours                Rate                  Total

      William Hibsher               868.50                  $730              $ 634,005.00

      Heather Goldman              1,140.10                 $590              $ 672,659.00

      Bryan Harrison                714.90                  $545              $ 389,620.50

      Eileen Weiss                  185.30                  $290               $ 53,737.00

      Conrad Shumadine               243.3                  $450               $109,485.00

      Patricia Yoder                  3.6               $155 (2018)              $558.00
                                     36.2               $155 (2019)             $5,611.00
                                     59.2               $160 (2020)             $9,472.00
      Nilsa Martinez                 21.3               $210 (2019)             $4,473.00
                                     49.2               $215 (2020)            $10,578.00
      TOTAL                         3,321.6                                   $1,890,198.50




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  Request for Fees Incurred Between February 6, 2020 and February 28, 2020 in Connection
  with Preparing Attorneys’ Fees Application

         138.    In support of this fee application, CNS has retained Robert M. Tata, the Norfolk

  Office Managing Partner for Hunton Andrews Kurth LLP to provide a declaration as to the

  reasonableness and necessity of fees incurred by CNS. In preparing his declaration, Mr. Tata

  received assistance from David Parker, an associate at Hunton Andrews Kurth LLP. Mr. Tata’s

  declaration is filed contemporaneously herewith.

         139.    CNS’ application for fees also requests those fees incurred as part of preparing

  this application. This request for fees on fees excludes all time spent reviewing billing entries

  and reducing the total fee amount included in the Application. The detailed billing entries for

  those fees incurred for work done by BCLP during the Post-Trial Period are attached hereto as

  Exhibit F. These billing entries have not yet been billed to CNS, but will be billed and collected

  in the usual course of business. Detailed billing entries for fees incurred by Willcox & Savage,

  P.C. during the Post-Trial Period are attached to the Declaration of Conrad M. Shumadine, filed

  contemporaneously herewith, and incorporated by reference. Detailed billing entries for fees

  incurred by Hunton Andrews Kurth LLP during the Post-Trial Period are attached to the

  Declaration of Robert M. Tata, filed contemporaneously herewith, and incorporated by

  reference.

         140.    In sum, CNS’ attorneys’ fee request seeks (by timekeeper) the following amounts

  in connection with the preparation of this application for fees:




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                Table 2 - Attorneys’ Fee Request for Preparation of Fee Application


          Timekeeper             Total Hours               Rate                  Total

      William Hibsher                14.8                  $730                $10,804.00

      Heather Goldman                63.9                  $590                $37,701.00

      Bryan Harrison                 37.7                  $545                $20,546.50

      Eileen Weiss                   13.0                  $290                $3,770.00

      Conrad Shumadine               19.4                  $450                $8,730.00

      Patricia Yoder                  0.7                  $160                 $112.00

      Robert M. Tata                 51.1                  $845                $43,179.50

      David Parker                   19.3                  $565                $10,904.50

      TOTAL                         219.9                                     $135,747.50



  Request for an Award of Non-Taxable Expenses (Costs)

         141.     CNS also seeks an award of its non-taxable expenses (costs) in the amount of

  $232,559.83. These expenses included charges for Ms. Kancherla’s fees and costs as CNS’

  expert, as contemplated under 42 U.S.C. § 1988(c), travel, and other expenses reasonably

  incurred in connection with the litigation. All of these expenses were billed to and paid by CNS,

  and are not included in CNS’ application for taxable costs, which is being filed separately and

  contemporaneously herewith. Attached hereto as Exhibit G is a detailed list of the claimed non-

  taxable expenses (generated by BCLP’s accounting department), together with supporting

  invoices and/or other documentation.




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 4th day of March, 2020, I electronically filed the foregoing
  with the Clerk of Court using CM/ECF system, which will send a notification of such filing to all
  counsel of record as listed below:
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